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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

ROY VILLARREAL                                  §
     Plaintiff,                                 §
                                                §
v.                                              §           CIVIL ACTION NO. 7:19-cv-00124
                                                §
STATE AUTO PROPERTY AND                         §
CASUALTY INSURANCE COMPANY                      §
     Defendant.                                 §

                                   NOTICE OF REMOVAL

       Defendant State Auto Property and Casualty Insurance Company (“Defendant” or “State

Auto”), through undersigned counsel and pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, files

this Notice of Removal of the lawsuit captioned Roy Villarreal v. State Auto Property and

Casualty Insurance Company; Cause No. 2019-DCL-01415; In the 404th Judicial District of

Cameron County, Texas.

                                            I.
                                       BACKGROUND

       1.      Plaintiff Roy Villarreal (hereinafter “Plaintiff”) initiated the present action by

filing his Original Petition in Cause No. 2019-DCL-01415; In the 404th Judicial District of

Cameron County, Texas on March 7, 2019 (the “State Court Action”). See Plaintiff’s Original

Petition, attached as Exhibit A.

       2.      Defendant appeared and answered on April 5, 2019, asserting a general denial to

the claims and allegations made in Plaintiff’s Original Petition. See Defendant’s Original Answer,

attached as Exhibit B.
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        3.      Pursuant to 28 USC § 1446(a) all a copy of all process, pleadings, and orders served

upon Defendant in the State Court Action are incorporated in Exhibit A. Pursuant to Local Rule

81, a full copy of the state court file has been requested and will be filed upon receipt.

        4.      Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal,

Defendant will give written notice of the removal to Plaintiff through his attorney of record, and

to the clerk of the 404th Judicial District of Cameron County, Texas.

        5.      Pursuant to 28 USC §§ 1446(b)(1) and 1446(c)(1) this Notice of Removal has been

timely filed within 30 days of service on Defendant of Plaintiff’s Original Petition and less than

one year after the commencement of this action.

                                                II.
                                           JURISDICTION

        6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and the matter

is removable to this Court pursuant to 28 U.S.C. § 1441(a) because there is complete diversity of

citizenship between the properly joined parties and the amount in controversy exceeds $75,000

exclusive of interest and costs.

A.      Diversity of Parties

        7.      Plaintiff is domiciled in Cameron County, Texas. See Exhibit A, ¶ 1. Pursuant to

28 U.S.C. § 1332(a), therefore, Plaintiff is a citizen of the State of Texas.

        8.      State Auto Property and Casualty Insurance Company is organized under the laws

of Ohio and maintains its principal place of business in Ohio. Pursuant to 28 U.S.C. § 1332(c)(1),

therefore, State Auto is a citizen of the State of Ohio.

        9.      Accordingly, there is complete diversity between the parties pursuant to 28 U.S.C. §

1332(a).




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B.       Amount in Controversy

         10.     Plaintiff’s Original Petition states that Plaintiff seeks “monetary relief over $100,000,

but not more than $200,000.00 dollars.” See Plaintiff’s Original Petition, Exhibit A, ¶ 4. The

threshold for diversity jurisdiction, $75,000, is therefore met by the allegations of Plaintiff’s Original

Petition.

         11.     Plaintiff further seeks compensation for (1) actual damages, (2) treble damages, (3)

attorney’s fees through trial and appeal, (4) pre and post-judgment interest, and (5) costs of court.

See Exhibit A, ¶¶ 14-24 and Prayer. Plaintiff has alleged that Defendant’s conduct was wrongful

and done knowingly, entitling him to a trebling of actual damages under Texas Insurance Code

Chapter 541. See Exhibit A, ¶ 21; Tex. Ins. Code sections 541.002 & 541.152. Penalties,

exemplary damages, and attorneys’ fees are included as part of the amount in controversy.1

         12.     The amount in controversy plainly exceeds $75,000, exclusive of interest and

costs. See Exhibit A. Accordingly, the amount in controversy requirement of 28 U.S.C. § 1332(b)

is satisfied.

                                                  III.
                                              CONCLUSION

         13.     Removal of this action under 28 U.S.C. § 1441(a) is proper as the district courts of

the United States have original jurisdiction over the matter pursuant to 28 U.S.C. § 1332, and as all

requirements for removal under 28 U.S.C. § 1446 have been met.

         14.     WHEREFORE, Defendant State Auto Property and Casualty Insurance Company

hereby provides notice that this action is duly removed.




1
         See H&D Tire & Automotive-Hardware, Inc. v. Pitney Bowes Inc., 227 F.3d 326, 330 (5th Cir. 2000); see
         also St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).



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                                       Respectfully submitted,

                                       /s/ Patrick M. Kemp
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                                       ATTORNEY-IN-CHARGE FOR DEFENDANT
                                       STATE AUTO PROPERTY AND CASUALTY
                                       INSURANCE COMPANY

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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
via certified mail, return receipt requested this the 16th day of April, 2019 to:

       James Willis                                                9414 7266 9904 2061 9293 01
       Richard D. Daly
       Daly & Black, P.C.
       2211 Norfolk St., Suite 800
       Houston, TX 77098
       jwillis@dalyblack.com
       rdaly@dalyblack.com
       ecfs@dalyblack.com
                                             /s/ Patrick M. Kemp
                                             Patrick M. Kemp




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